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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA


                                                        CASE No C


                                Plaintiff(s)
                                                        ADR CERTIFICATION BY
 v.
                                                        PARTIES AND COUNSEL


                                Defendant(s)

Pursuant to Civil L.R. 16-8(b) and ADR L.R. 3-5 (b), each of the undersigned certifies that he or
she has:

      1) Read the handbook entitled “Alternative Dispute Resolution Procedures Handbook”
         (available at cand.uscourts.gov/adr).
      2) Discussed with each other the available dispute resolution options provided by the Court
         and private entities; and
      3) Considered whether this case might benefit from any of the available dispute resolution
         options.
 Date:
                                                                               Party
 Date:
                                                                             Attorney

Counsel further certifies that he or she has discussed the selection of an ADR process with
counsel for the other parties to the case. Based on that discussion, the parties:
         intend to stipulate to an ADR process
         prefer to discuss ADR selection with the Assigned Judge at the case management
         conference


       Date:
                                                                             Attorney




  Important! E-file this form in ECF using event name: “ADR Certification (ADR LR 3-5 b) of Discussion of ADR
  Options.”



 Form ADR-Cert rev. 1-15-2019
